                                                                                                    Entered on Docket
                                                                                                    February 06, 2019
                                                                                                    EDWARD J. EMMONS, CLERK
                                                                                                    U.S. BANKRUPTCY COURT
                                                                                                    NORTHERN DISTRICT OF CALIFORNIA



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                                                                                               The following constitutes the order of the Court.
                                             2                                                 Signed: February 6, 2019
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                                             4                                                 _________________________________________________
                                                                                               M. Elaine Hammond
                                                                                               U.S. Bankruptcy Judge
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                                                                          UNITED STATES BANKRUPTCY COURT
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                                                                          NORTHERN DISTRICT OF CALIFORNIA
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                                                                                                     ) Case No. 15-50801 MEH
                                            10   In re                                               )
UNITED STATES BANKRUPTCY COURT




                                                                                                     ) Chapter 11
  for the Northern District of California




                                            11   Robert S. Brower, Sr.,                              )
                                                                                                     )
                                            12                                                       )
                                                                                                     )
                                            13                                 Debtor(s).            )
                                                                                                     )
                                            14                                                       )
                                                                                                     )
                                            15                                                       ) Adv. No. 17-05044
                                                                                                     )
                                            16   MUFG Union Bank, N.A.,                              )
                                                                                                     )
                                            17                                Plaintiff.             )
                                                                                                     )
                                            18   v.                                                  )
                                                                                                     )
                                            19   Robert Brower, Sr. et al.                           )
                                                                                                     )
                                            20                                Defendant.             )
                                                                                                     )
                                            21                                                       )
                                            22                          ORDER AFTER DISCOVERY CONFERENCE
                                            23
                                            24             The court held a Federal Rule of Civil Procedure 26(f) 1 discovery conference in this
                                            25   matter on February 5, 2019, to determine whether Patricia Brower (“Patricia”) may be
                                            26   required to testify by deposition on her own behalf, and as the FRCP 30(b)(6) representative
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                                            28   1    Made applicable by Federal Rule of Bankruptcy Procedure 7026.
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                                             Case: 17-05044         Doc# 104      Filed: 02/06/19       Entered: 02/06/19 15:19:47     Page 1 of 4
                                             1   of American Commercial Properties, Inc. (“ACP”), and the Patricia Brower Trust (the
                                             2   “Trust”). Appearances were as stated on the record. Good cause appearing; it is hereby
                                             3          ORDERED as follows:
                                             4          1. MUFG Union Bank, N.A. is authorized to depose Patricia, individually, and as the
                                             5             FRCP 30(b)(6) representative of ACP and the Trust.
                                             6          2. If, prior to Patricia’s scheduled depositions, Robert Brower, Sr. (“Robert”),
                                             7             testifies to the best of his knowledge and in his capacity as the former president of
                                             8             ACP, as to the events and transactions of ACP during the period that he was
                                             9             president, and to the best of his knowledge as to any events and transactions
                                            10             involving ACP after he resigned as president, and to the best of his knowledge as
UNITED STATES BANKRUPTCY COURT
  for the Northern District of California




                                            11             to any events and transactions involving the Trust, then, Patricia may be excused
                                            12             from testifying by deposition.
                                            13          3. The depositions of Robert shall be scheduled prior to the depositions of Patricia.
                                            14          4. The court will be available to hear and resolve by telephone any disputes that arise
                                            15             during Robert’s depositions on the following schedule:
                                            16                 a. February 20, 2019, at 9:30 a.m. and 4:30 p.m. Pacific Time,
                                            17                 b. February 21, 2019, at 8 a.m. and 4:30 p.m. Pacific Time,
                                            18                 c. Additional dates may be set to accommodate the parties’ schedule.
                                            19          5. If the parties require a telephone conference with the court during depositions, a
                                            20             request shall be emailed to Anna Rosales (anna rosales@canb.uscourts.gov) and
                                            21             Ron Rombawa (ronald_rombawa@canb.uscourts.gov) no later than 30 minutes
                                            22             prior to the available time provided above. Mr. Rombawa may also be reached at
                                            23             (408) 278-7558.
                                            24          6. Following Robert’s depositions, if there is a dispute as to whether the testimony
                                            25             was sufficiently forthcoming to warrant Patricia being excused from her
                                            26             depositions, then the court will resolve the dispute by telephonic hearing on the
                                            27             afternoon of February 21, 2019.
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                                             Case: 17-05044      Doc# 104      Filed: 02/06/19    Entered: 02/06/19 15:19:47        Page 2 of 4
                                             1       7. If Patricia is excused from testifying at her depositions, then she will be precluded
                                             2          from offering any testimony at trial, directly or indirectly through discovery
                                             3          responses or by an expert’s reliance upon her testimony; and any declaration filed
                                             4          by her in this adversary proceeding shall be stricken from the record.
                                             5                                  ***END OF ORDER***
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UNITED STATES BANKRUPTCY COURT
  for the Northern District of California




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                                             Case: 17-05044   Doc# 104      Filed: 02/06/19     Entered: 02/06/19 15:19:47       Page 3 of 4
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                                             2   All ECF Recipients
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UNITED STATES BANKRUPTCY COURT
  for the Northern District of California




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                                             Case: 17-05044     Doc# 104   Filed: 02/06/19   Entered: 02/06/19 15:19:47   Page 4 of 4
